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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA                             NOV 2 I 20f7
                                    RICHMOND DIVISION
                                                                                  CLERK. U.S. DISTRICT COURT
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UNITED STATES OF AMERICA


               V.                                        CASE NO. 3:17CR124-2 (REP)
DUSTIN FAULKNER,
       Defendant



                                             ORDER


       This matter is before the court for consideration of a report and recommendation by the

Magistrate Judge regarding the Magistrate Judge's acceptance of the Defendant's plea of guilty to

specified charges in the pending matter pursuant to a Fed. R. Grim. P. 11 proceeding conducted by

the Magistrate Judge with the consent of the Defendant and counscl. It appearing that the

Magistrate Judge made full inquiry and findings pursuant to Rule 11; that the Defendant was given

notice of the right to file specific objections to the report and recommendation that has been

submitted as a result of the proceeding; and it further appearing that no objection has been asserted

within the prescribed time period, it is hereby

       ORDERED that the report and recommendation ofthe Magistrate Judge is ADOPTED and

the Defendant is found guilty of Count One of the Criminal Information.



                                                              /s/
                                              Robert E. Payne
                                              Senior United States District Judge




Dated: November           ,2017
